Case 3:10-Cv-01647-.]BA Document 27 Filed 08/08/11 Page 1 of 1

UN]TED STATES D|STR]CT COURT
DISTR!CT OF CONNECT¥CUT

TlMoTHY TH|BODEAU,
Piaintiff,
v. § No. 3:10-cv_01647-JBA
o:\/sReriEo coLLEoTloN ;
sER\/loEs :NC_, : sTiPULATloN oF oismissAL

`v”v'i'i"r~i PREJUDiCE
Defendant.

The P|aintiff and Defendant, by and through the undersigned hereby stipuiate
that the above entitled action shaf| be dismissed With prejudice to P!aintiff on his

compiaint and Without costs and/or attorney's fees to any party.

THE PLAINT§FF, THE DEFENDANT,
T|N|OTHY TH|BODEAU D[VERS|FIED COLLECT|ON
( SERV!CES, INC.

  

 

 

 

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80 Ordered: Dated:

 

 

